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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                                              CASE NO.:

  ROLANDO LUIS,
  and other similarly situated individuals,

          Plaintiff,

  v.

  VMSB, LLC
  d/b/a CASA CASUARINA
  d/b/a GIANNI’S

        Defendant
  ________________________________/

                                        COMPLAINT
                            (OPT-IN PURSUANT TO 29 U.S.C § 216(b))

          COMES NOW the Plaintiff ROLANDO LUIS, by and through the undersigned counsel,

  and hereby sues Defendant VMSB, LLC d/b/a CASA CASUARINA, d/b/a GIANNI’S and alleges:

       1. This is an action to recover money damages for unpaid overtime wages under the laws of

          the United States. This Court has jurisdiction pursuant to Title 28 U.S.C. § 1337 and by

          Title 29 U.S.C. § 201-219, § 216(b), the Fair Labor Standards Act, “the Act”, (Section 216

          for jurisdictional placement).

       2. Plaintiff ROLANDO LUIS is a resident of Miami-Dade County, within the jurisdiction of

          this Honorable Court. Plaintiff is a covered employee for purposes of the Act.

       3. Defendant VMSB, LLC d/b/a CASA CASUARINA, d/b/a GIANNI’S (hereinafter CASA

          CASUARINA, or Defendant) is a Florida corporation which has a place of business within

          the jurisdiction of this Court. At all times, Defendant was and is engaged in interstate




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        commerce. The Defendant is the employer of Plaintiff and others similarly situated within

        the meaning of Section 3(d) of the “Fair Labor Standards Act” [29 U.S.C. § 203(d)].

     4. All the actions raised in this complaint took place in Miami-Dade County Florida, within

        the jurisdiction of this Court.

                         ALLEGATIONS COMMON TO ALL COUNTS

     5. This cause of action is brought by Plaintiff as a collective action to recover from Defendant

        overtime compensation, liquidated damages, and the costs and reasonable attorney’s fees

        under the provisions of Fair Labor Standards Act, as amended, 29 U.S.C. § 201 et seq (the

        “FLA or the “ACT”) on behalf of Plaintiff, and all other current and former employees

        similarly situated to Plaintiff (“the asserted class”) who worked in excess of forty (40)

        hours during one or more weeks on or after October 2016 (the “material time”) without

        being compensated overtime wages pursuant to the FLSA.

     6. Defendant CASA CASUARINA is an Italian/Mediterranean located at 1116, Ocean Drive,

        Miami Beach, Florida 33139, where Plaintiff worked.

     7. Defendant CASA CASUARINA employed Plaintiff ROLANDO LUIS as a non-exempt,

        hourly, full-time restaurant employee, from on or about October 26, 2016, 2016, through

        approximately July 29, 2019, or 144 weeks. However, for FLSA purposes Plaintiff’s

        relevant period of employment is 142 weeks. Plaintiff did not work more than forty (40)

        hours the last 2 weeks of employment.

     8. Plaintiff was a non-exempted, full-time, hourly prep-cook, and for 128 weeks his wage rate

        was $11.00 an hour. Plaintiff had a wage-rate increase to $13.00 an hour for the last 16

        weeks of employment.




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     9. During his time of employment with Defendant, Plaintiff worked 5 or 6 days per week.

        Plaintiff had a regular schedule and he worked 40 or more hours, per week. Plaintiff was

        paid his regular and overtime hours correctly.

     10. However, Plaintiff alleges that during his time of employment, every week Defendant

        improperly and automatically deducted 2.5 hours weekly from compensable time as

        lunchtime taken, regardless the fact that Plaintiff was unable to take bonafide lunch breaks.

     11. Those 2.5 hours automatically deducted from compensable time as lunchtime by the

        Defendant, constitute 2.5 additional overtime hours that were never paid to Plaintiff. In

        weeks in which Plaintiff worked more than 5 days/40 hours, in weeks in which Plaintiff

        worked 6 days, the lunchtime represented three (3) unpaid overtime hours. Defendant

        improperly and automatically deducted from Plaintiff’s wages 2.5 or 3 hours of lunchtime

        that Plaintiff did not take.

     12. Plaintiff clocked in an out and the Defendant was able to track the hours worked by Plaintiff

        and other similarly situated individuals.

     13. Therefore, Defendant willfully failed to pay Plaintiff for overtime hours at the rate of time

        and one-half his regular rate for every hour that he worked in excess of forty (40), in

        violation of Section 7 (a) of the Fair Labor Standards Act of 1938 (29 U.S.C. 207(a)(1).

     14. Plaintiff was paid bi-weekly by direct deposits.

     15. On or about July 29, 2019, Defendant terminated Plaintiff’s employment due to

        discriminatory reasons. Plaintiff is in the process of filing his Charge of Discrimination

        with the Equal Employment Opportunity Commission (EEOC).

     16. Plaintiff is not in possession of time and payment records, but he is going to provide a good

        faith estimate based on a workweek of 5 days.



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     17. Plaintiff ROLANDO LUIS seeks to recover a minimum of 2.5 unpaid overtime hours in

        weeks of 5 days, and 3 unpaid overtime hours in workweeks of 6 days, corresponding to

        unproperly deducted lunchtime during all the relevant weeks that he worked for Defendant,

        as well as liquidated damages, attorney fees, and any other relief as allowable by law.

                                  COUNT I:
                WAGE AND HOUR FEDERAL STATUTORY VIOLATION;
                          FAILURE TO PAY OVERTIME

     18. Plaintiff ROLANDO LUIS re-adopts every factual allegation as stated in paragraphs 1-17

        above as if set out in full herein.

     19. This action is brought by Plaintiff and those similarly-situated to recover from the

        Employers CASA CASUARINA unpaid overtime compensation, as well as an additional

        amount as liquidated damages, costs, and reasonable attorney’s fees under the provisions

        of 29 U.S.C. § 201 et seq., and specifically under the provisions of 29 U.S.C. § 207. 29

        U.S.C. § 207 (a)(1) states, “No employer shall employ any of his employees for a

        workweek longer than 40 hours unless such employee receives compensation for his

        employment in excess of the hours above specified at a rate not less than one and a half-

        time the regular rate at which he is employed.”

     20. At all times pertinent to this Complaint, Defendant CASA CASUARINA was engaged in

        interstate commerce as defined in §§ 3 (r) and 3(s) of the Act, 29 U.S.C. § 203(r) and

        203(s). The Defendant is a retail business performing as an Italian Mediterranean

        restaurant, catering mostly to tourist customers. At all times, the Employer/Defendant

        operates as an organization which sells and/or markets its services to customers from

        throughout the United States. At all times Defendant had more than two employees

        regularly engaged in interstate commerce The Employer/Defendant obtains and solicits



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        funds from non-Florida sources, accepts funds from non-Florida sources, uses the

        instrumentalities and channels of interstate commerce. Upon information and belief, the

        annual gross revenue of the Employer/Defendant was always material hereto in excess of

        $500,000 per annum. Defendant’s business activities involve those to which the Fair Labor

        Standards Act applies. Therefore, there is FLSA enterprise coverage.

     21. The Plaintiff’s work for the Defendant likewise affected interstate commerce. Plaintiff was

        employed by an enterprise engaged in interstate commerce, and through his daily activities,

        he regularly engaged in interstate commerce when he handled and worked on goods and

        materials that had been produced for commerce and moved in interstate commerce at any

        stage of the business. Therefore, there is FLSA individual coverage.

     22. Defendant CASA CASUARINA employed Plaintiff ROLANDO LUIS as a non-exempt,

        hourly, full-time restaurant employee, from on or about October 26, 2016, 2016, through

        approximately July 29, 2019, or 144 weeks. However, for FLSA purposes Plaintiff’s

        relevant period of employment is 142 weeks. Plaintiff did not work more than forty (40)

        hours the last 2 weeks of employment.

     23. Plaintiff was a non-exempted, full-time, hourly prep-cook, and for 128 weeks his wage rate

        was $11.00 an hour. Plaintiff had a wage-rate increase to $13.00 an hour for the last 16

        weeks of employment.

     24. During his time of employment with Defendant, Plaintiff worked 5 or 6 days per week.

        Plaintiff had a regular schedule and he worked 40 or more hours, per week. Plaintiff was

        paid his regular and overtime hours correctly.




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     25. However, Plaintiff alleges that during his time of employment, every week Defendant

        improperly and automatically deducted 2.5 hours weekly from compensable time as

        lunchtime taken, regardless the fact that Plaintiff was unable to take bonafide lunch breaks.

     26. Those 2.5 hours automatically deducted from compensable time as lunchtime by the

        Defendant, constitute 2.5 additional overtime hours that were never paid to Plaintiff, in

        weeks in which Plaintiff worked more than 40 hours, in weeks in which Plaintiff worked

        6 days, the lunchtime represented three (3). Defendant improperly and automatically

        deducted from Plaintiff’s wages 2.5 or 3 hours as lunchtime.

     27. Plaintiff clocked in an out and the Defendant was able to track the hours worked by Plaintiff

        and other similarly situated individuals.

     28. Therefore, Defendant willfully failed to pay Plaintiff for overtime hours at the rate of time

        and one-half his regular rate for every hour that he worked in excess of forty (40), in

        violation of Section 7 (a) of the Fair Labor Standards Act of 1938 (29 U.S.C. 207(a)(1).

     29. Plaintiff was paid bi-weekly by direct deposits.

     30. On or about July 29, 2019, Defendant terminated Plaintiff’s employment due to

        discriminatory reasons. Plaintiff is in the process of filing his Charge of Discrimination

        with the Equal Employment Opportunity Commission (EEOC).

     31. Plaintiff is not in possession of time and payment records, but he is going to provide a good

        faith estimate based on a workweek of 5 days.

     32. The records, if any, concerning the number of hours worked by Plaintiff ROLANDO LUIS,

        and all others similarly situated employees, and the compensation actually paid to such

        employees should be in the possession and custody of Defendant. However, upon




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        information and belief, Defendant did not maintain accurate and complete time records of

        hours worked by Plaintiff and other employees in the asserted class.

     33. Defendant violated the record-keeping requirements of FLSA, 29 CFR Part 516.

     34. Upon information and belief, Defendant never posted any notice, as required by the Fair

        Labor Standards Act and Federal Law, to inform employees of their Federal rights to

        overtime and minimum wage payments.

     35. Defendant violated the Posting requirements of 29 U.S.C. § 516.4.

     36. Prior to the completion of discovery and to the best of Plaintiff’s knowledge, at the time of

        the filing of this complaint, Plaintiff’s good faith estimate of unpaid overtime wages are as

        follows:

        *Please note that these amounts are based on a preliminary calculation and that these
         figures are subjected to modification as time and payment records could dictate.

            a. Total amount of alleged unpaid overtime wages:

                Five Thousand Nine Hundred Sixty-Two Dollars and 50/100 ($5,962.50)

            b. Calculation of such wages:

                Total time of employment: 144 weeks
                Total relevant period of employment: 142 weeks
                Total hours worked: more than 40 hours weekly
                Unpaid overtime hours: 2.5 O/T hours (lunchtime 0.5 hr. x 5 days)

                1.- Overtime calculations for 128 weeks paid @ $11.00 an hour

                Total relevant period of employment: 128 weeks
                Total hours worked: more than 40 hours weekly
                Unpaid overtime hours: 2.5 O/T hours (lunchtime 0.5 hr. x 5 days)
                Regular rate: $11.00 x 1.5=$16.50
                O/T rate: $16.50

                O/T rate $16.50 x 2.5=$41.25 weekly x 128 weeks=$5,280.00

                2.- Overtime calculations for 14 weeks paid @ $13.00 an hour



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                Total relevant period of employment: 14 weeks
                Total hours worked: more than 40 hours weekly
                Unpaid overtime hours: 2.5 O/T hours (lunchtime 0.5 hr. x 5 days)
                Regular rate: $13.00 x 1.5=$19.50
                O/T rate: $19.50

                O/T rate $19.50 x 2.5=$48.75 weekly x 14 weeks=$682.50

                Total 1 and 2: $5,962.50

            c. Nature of wages (e.g. overtime or straight time):

                This amount represents the unpaid overtime wages.

     37. At all times material hereto, the Employer/Defendant CASA CASUARINA failed to

        comply with Title 29 U.S.C. §§ 201-219 and 29 C.F.R. § 516.2 and § 516.4 et seq. in that,

        Plaintiff and those similarly-situated performed services and worked in excess of the

        maximum hours provided by the Act but no provision was made by the Defendant to

        properly pay Plaintiff at the rate of time and one half for all hours worked in excess of forty

        hours (40) per workweek as provided in said Act.

     38. Defendant CASA CASUARINA knew and/or showed a reckless disregard of the

        provisions of the Act concerning the payment of overtime wages as required by the Fair

        Labor Standards Act, and Plaintiff and those similarly situated are entitled to recover

        double damages.

     39. Defendant CASA CASUARINA willfully and intentionally refused to pay Plaintiff

        overtime wages as required by the law of the United States and remain owing Plaintiff

        these overtime wages since the commencement of Plaintiff’s employment with Defendant,

        as set forth above.

     40. Plaintiff has retained the law offices of the undersigned attorney to represent him in this

        action and is obligated to pay a reasonable attorneys’ fee.



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                                         PRAYER FOR RELIEF

  WHEREFORE, Plaintiff ROLANDO LUIS and those similarly situated individuals respectfully

  request that this Honorable Court:

      A. Enter judgment for Plaintiff ROLANDO LUIS and other similarly situated and against the

          Defendant CASA CASUARINA based on Defendant’s willful violations of the Fair Labor

          Standards Act, 29 U.S.C. § 201 et seq.; and

      B. Award Plaintiff actual damages in the amount shown to be due for unpaid compensation

          for hours worked in excess of forty weekly, with interest; and

      C. Award Plaintiff an equal amount in double damages/liquidated damages; and

      D. Award Plaintiff reasonable attorneys' fees and costs of suit; and

      E. Grant such other and further relief as this Court deems equitable and just and/or available

          pursuant to Federal Law.

                                        JURY DEMAND

  Plaintiff ROLANDO LUIS and those similarly situated demand trial by jury of all issues triable as

  of right by jury.

  Dated: November 8, 2019

                                                  Respectfully submitted,

                                                  By: _/s/ Zandro E. Palma____
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